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   From:                                                          Montenegro, Melanie (NBCUniversal) <Melanie.Montenegro@nbcuni.com>
   Sent:                                                          Tuesday, August 6, 2013 9:17 PM
   To:                                                            Felipe Boshell
   Subject:                                                       Revised Offer Letter
   Attachments:                                                   Caracol Offer Letter re Sequel to ESDLC (8 6 13).doc


   Felipe,

   In continuation with our discussions, attached is the revised offer letter. Please let me know
   when we can have an in person or a conference call to finalize the sequel rights to the ESDLC. As
   previously discussed, the international participation is after the recoupment of our costs of
   production. I look forward to speaking to you.



   Regards,

                                           MELANIE M. MONTENEGRO
                                           Vice President
                                           Business & Legal Affairs
                                           Teleinundo Media
                                           0:305 889 7929
                                           0:786 394 1212
                                           M:786442 7571
       TELEMUNDO                           F: 305 889 7926
                                           Melanie.Montenegro@nbcuni.com

   td, Please consider the environment before printing this email


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                                                                                                                  1



                                                                                                                                                                                           Exhibit "E"
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CONFIDENTIAL
                                                                        ND                          Exhibit "E"
                                                                                                             cR1.01.0758
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                                                                                                  MELANIE M. MONTENEGRO
                      •i
                                                                                                  VP,Business & Legal Affairs
                                                                                                  Dir 305 889-7929
      TEILER'     , 11Nalki;  ,:')                                                                Melanie.Monteriegro@ribeuni.eom
      A Division of NBC Universal




 I   August 6,2013                                                                                                                   . f Deleted: July9

     VIA CERTII,ILD MAIL & ELECTRONICE-MAIL (fboshell(0,caracoltv.com.co)


     Mr. Felipe Boshell
     General Manager
     Caracol Television S.A.
     Calle 103,069B-43
     Bogota D.C.
     Colombia


               Re:         El Senor de Los Cielos Sequel


     Dear Mr. Boshell,

             This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
     Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
     "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
     ("Cruncol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
     de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
     the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
     All capitalized terms used but not defined herein shall have the meaning ascribed to such tenn in the
     Agreement.

            By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
     agreement with respect to the transactions contemplated herein and acknowledge that Caracol has                                ..
     agreed to the terms and conditions of the Term Sheet which will be incorporated into ubsequent long-                                 Deleted: two
     form agreementis),jncluditis_a License Agreement between Caracol and TTS,                                                            Deleted: as follows:(i)
                                                                                                                                    "--   Deleted: and.(it)a Distribution Agreement between Caracol and
             This Offer Letter, including the Term Sheet,shall be in all respects governed by and construed in                            Telemundo Internacional, LI.0(-111
     accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
     shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
     consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
     Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
     executed by the party against whom enforcement of the amendment, modification, discharge or waiver
     is sought. No delay or failure at any time on the part of any party in exercising any right, power or
     privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
     right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                           2290 Wee*8.Avenue,Hialeah, Florida 33010
                                     'Florida Authorized House Counsel and Licensed and a Member ofThe New York State Bar




                                                                                                                                                          Exhibit "E"
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    Mr. Felipe Boshell
    411gps1 6,2013                                                                                                .„--f Deleted: July9
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    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Alarcos.Santananberini.cong
                   Mr. Joshua Mintz(..Joshita.Alinteti:nbcreni.cont)




                                                                                                                                         Exhibit "E"
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                                                  Annex A

                                              TERM SHEET

     1. Parties:               a. Caracol Television S.A.("Caracol")
                               b. Telemundo Television Studios,LLC("TTS")
                               c. Telemundo Internacional,LLC("Tr)

     2. Date:                 As ofdkugust 6,2013                                                       Deleted: July 9


     3. Sequel:                a. TTS will develop, produce,own,and distribute a sequel to the
                                  "El Senor de los Cielos"(the "Series")for the exhibition and
                                  exploitation in the United States,its territories, as well as
                                  throughout the world (the "Sequel").

                               b. The Sequel will be based on the original format of the Series,
                                  which TTS shall have all right to use all elements(e.g.,
                                  characters,story, scenarios, locales,etc.)derived from the
                                  Series and any new elements added by TTS for purposes of
                                  creating the Sequel. For clarity, TTS will not be entitled to use
                                  images and content licensed by Caracol for the Series,except as
                                  agreed mutually by the Parties in a case-by-case scenario.

     4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
        Length:               approximately forty-two(42)minutes in length.

     5. Production:           Telemundo shall have the exclusive right to produce and exploit the
                              Sequel, provided that Caracol shall have certain exhibition rights as
                              granted herein.

     6. Development &         TTS shall have exclusive creative decisions,development of budgets
        Control ofthe Sequel: and casting, among other matters in the development and production
                              ofthe Sequel.

     7. Ownership:            From inception through all stages ofcompletion,the Sequel and all
                              elements thereof,including the underlying works, format and script,.
                              ofthe Series, will be exclusively owned by TTS throughout the
                              world.

                              TTS will own and control all exclusive, irrevocable and perpetual
                              right, title and interest(including copyright), throughout the universe
                              in and to the Sequel and all derivatives of the Sequel, and all
                              elements, underlying works or portions thereof including all raw
                              footage, from the inception of production, in any and all media and
                              formats, now known or hereafter devised, in perpetuity, including
                              without limitation all literary, dramatic, or other material contained




                                                                                                                          Exhibit "E"
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    Mr. Felipe Boshell
    AugRst6 2013                                                                                      .•••:-.•,{ Deleted: July9
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                              therein, and the results and proceeds of the services in connection
                              therewith.
                                                                                                           •    •    •

                                                                                                        : : :"        •
     S. Reserved Rights:      All and any rights not granted expressly herein to Caracol shall be        : : : •• ••
                              expressly reserved by Teleinundo.                                         :: : • •
                                                                                                         : :.:. •.• •• •

     9. License:              During the Term, Telemundo grants to Caracol a limited,exclusive           • : :•: :                ••
                              license to exhibit the Series in Colombia,and the name,logos and
                              related trademarks in connection with the Sequel and promotion
                              thereof.
    10. Caracol Exhibition     a) Territory: Caracol shall have the exclusive exhibition license to     .• . • . • . •        •        ....•
        License:                  the Sequel in Colombia(the"Territory").
                                  b) Terrn: Caracol shall have the right to run the Sequel for a               • • • •• • • • •
                                     period ofthree(3)years in the Territory at zero cost.                     • • • •• • • • • • •• • •

                               c) Runs: Three(3)runs.                                                           • • • -•                       .....
                               d) Exclusive Media: Free-tv over-the-air broadcast in the
                                  Territory.
                                                                                                         •: : : •
                               e) Non-exclusivc Meclia,•,,ly:•ty,,in the Territory,excluding                        Deleted:,
                                  digital platforms, download to own,electronic sell through,                       Deleted: p
                                  home entertainment and any allied and ancillary rights related                           ted:,
                                                                                                                    D'173le—
                                  to the Sequel("Ancillary Rights').                                                Deleted: over-the-air broadcast and on video on demand digital
                                                                                                                    platforms
                               f) Authorized Language: Spanish language only.
                                                                                                        : •
                               g) Sublicensing: Caracol may not sublicense the exhibition rights
                                  granted by TTS to any third party.

     11. Caracol International TTS shall provide Caracol with detailed accountuarterly
         Profit Participation: basis (no later than 30 days following each such quarter). and TTS
                               shall pay Caracol a participation equal to 15% of 100% of Foreign       : •: • .•
                               Net Sales(as defined below).                                            : •: • :•

                              "Foreign Net Sales" shall mean all gross amounts actually received       •• :•• : •• : •• :..
                              by and;or credited to TTS in connection with the exploitation of the
                              Series throughout Participation Territory_ less only (i) the             • :• : •          ::: :•
                              Plsyibution Fee (as defined belowi 01T(S's actual, otn-Alpocket          • :• : •: • : •: • :•
                                                                                                       • :• : •: • : •: • :• : •
                              third party costs and expenses in connection with the exploitation of    • :•           :::: : : :
                              the Sequel throughout the Participation Territory andliii) any third
                              party participation attributable to the exploitation of the Sequel       • :• : • : •: • :• : • :
                              throughout the Participation Territou,
                                                                                                                    Deleted: TI will have the exclusive right to distribute,adapt,and
                                                                                                                    sell all advertising in connection with the Sequel,including but not
                              t                                                                                     limited to,advertising spots, sponsorship and product integration and
                                                                                                                    mariceting in the Distribution Territory




                                                                                                                                           Exhibit "E"
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    Mr. Felipe Boshell
    dkugust 6,2013                                                                                      :.•-•,{ Deleted: July9
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                              :Distribution Fee"means a 25% distributor fee,less distribution                Deleted: <01>Distribution Tenitorv: Worldwide,subject to the
                                                                                                             license granted to Caracol herein!'
                              fees and expenses, marketing,advertising and promotional expenses,             4>hlgslii: All media.including Ancillary Rights. i
                               and any applicable taxes.                                                     Deleted: Participation in Foreign Sales: 11 shall pay Caracol 1534
                                                                                                             ofthe net receipts actually received by 11 generated by the
                              "Excluded Territory" means the exploitation ofthe Segue'                       exploitation ofthe Sequel, less the Distribution Fee and the
                                                                                                             Production Budget ofthe Sequel. It is expressly understood that
                              throughout the United States, its possessions and territories                  Cameo' shall not be entitled to distribution fees from the exploitation
                              Mexico. and the Telemundo and Tctlemundo Internacional branded                 ofthe Sequel in the United States, and the TTS affiliated distribution
                                                                                                             stations and channels in the United States, Mexico,its branded
                              and/or affiliated channels throughout the world, including Mun2.               and/or affiliated channels,including Mun2. Caracol shall be entitled
                                                                                                             to participate in any sale ofthe Sequel outside the United States and
                              "Participation Territory"means on a worldwide basis excluding.                 outside the screen ofTelemundoll
                              the Excluded Territom
                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:     This Tenn Sheet shall be in all respects governed by and construed
                              in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.




                                                                                                                                 Exhibit "E"
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